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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

                                    JUDGE WALKER D. MILLER

                                     COURTROOM MINUTES

   Courtroom Deputy: Kathy Preuitt-Parks         Date: September 28, 2007
   Court Reporter: Janet Coppock                 Time: 53 minutes


   CASE NO. 05-cv-00377-WDM-BNB

   Parties                                       Counsel

   MOISES CARRANZA-REYES,                        William Trine
                                                 Joseph Archuleta
                       Plaintiff,                Cheryl Trine
                                                 Lloyd Kordick
   vs.

   PARK COUNTY BOARD OF COUNTY                   Josh Marks
   OF COMMISSIONERS, et al,                      Andrew Ringel


                       Defendants.




                                         ORAL RULING


   9:02 a.m.    COURT IN SESSION

   APPEARANCES OF COUNSEL.

   Court states its findings and conclusions.

   ORDERED: Defendants’ Motion in Limine to Limit Expert Testimony by Michael
            Niederman, M.D. and Robert Griefinger, M.D. (Doc #127), filed 1/2/07 is
            GRANTED as stated on the record.
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   ORDERED: Defendants’ Motion in Limine to Exclude Plaintiff’s Expert Witness Helen
            Woodard, M.A. (Doc #128), filed 1/3/07 is GRANTED in PART and
            DENIED in PART as stated on the record.

   ORDERED: Defendants’ Motion in Limine to Exclude Plaintiff’s Expert Witness
            Patricia Pacey, Ph.D (Doc #130), filed 1/3/07 is GRANTED in PART and
            DENIED in PART as stated on the record.

   ORDERED: Defendant Vicki Paulsen’s Motion to Exclude Testimony of Catherine
            Knox and Anthony Volz Under Fed. R. Evid. 702 (Doc #199), filed 6/18/07
            is GRANTED in PART and DENIED in PART as stated on the record.

   ORDERED: Status conference set October 1, 2007 is VACATED.

   9:55 a.m.    COURT IN RECESS

   Total in court time:     53 minutes

   Hearing concluded
